Case 2:97-cr-20238-.]PI\/| Document 175 Filed 08/04/05 Page 1 of 3 Page|D 79
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE .C.

 

 

 

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) -' "` '97‘- 5-M1
Plaimiff, ) 97-20236-1\41
) 97_20237-M1
VS ) _9_7;292_18;1:41 \/
) 97-20239-M1
EDDIE JETER ) 97-20240-1\41
) 97-20241-M1
Derendam. ) 05-20014-M1

 

*E-X-T-E-N-D-E-D ORDER TO SURRENDER

 

 

The defendant, Eddie Jeter, having been sentenced in the above case to the custody of the
Bureau of Pn'sons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to thel FCI~MEMPHIS
(SCP), 1101 John A. Denie Road, Memphis, TN 38138 by 2:00 P.M., *TUESDAY, SEPTEMBER
§.\ZLOS_»

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediater to the Office of the Clerk, Federal Office Building, 167 N. Main Street, Roorn 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant Will report as ordered to the facility named above.

EN_TERED this the q day of August, 2005.

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JO PHIPPS McCALLA
U ITED STATES DISTRICT JUDGE

This document entered on the docket he tln compl|ance
with mile 55 and/or az(b) Fnch on § ’§ 'C 5

 

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ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 175 in
case 2:97-CR-20238 Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

 

 

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Jacob E. Erwin
WAGERMAN LAW FIRM
200 Jefferson Avenue

Ste. l3 l3

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

